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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JAMES MARKETTE and BARBARA                          )
 MARKETTE,                                           )
                                                     )      Case No. 15-cv-5271
         Plaintiffs,                                 )
                                                     )      Judge Andrea R. Wood
 v.                                                  )
                                                     )      Magistrate Judge Maria Valdez
 HSBC BANK, USA, NATIONAL                            )
 ASSOCIATION, as TRUSTEE FOR SG                      )
 MORTGAGE SECURITIES TRUST                           )
 2006-FRE1, ASSET-BACKED                             )
 CERTIFICATES, SERIES 2006-FRE1;                     )
 ANSELMO LINDBERG OLIVER, LLC,                       )
 f/k/a FREEDMAN ANSELMO LINDBERG,                    )
 LLC,                                                )
                                                     )
         Defendants.                                 )


                                   NOTICE OF APPEAL

         Notice is hereby given that Plaintiffs James Markette and Barbara Markette appeal to

the United States Court of Appeals for the Seventh Circuit from the Memorandum Opinion

and Order entered by the Honorable Andrea R. Wood, granting Defendants' motions to

dismiss and dismissing Plaintiffs' First Amended Complaint with prejudice based on res

judicata, entered on March 11, 2019 (Dkt. # 106), the resulting Judgment entered on March

14, 2019 (Dkt. #107), and all other orders affecting that Order and Judgment.

                                      Respectfully submitted,

                                      JAMES and BARBARA MARKETTE

                                      By:    s/ Werner Gruber
                                             Werner Gruber, One of Plaintiffs' Attorneys




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                               CERTIFICATE OF SERVICE

        I, Werner Gruber, an attorney, hereby certify that on April 10, 2019, I electronically
filed the foregoing Notice of Appeal with the Clerk of the U.S. District Court, using the
CM/ECF system, reflecting service to be had on all parties of record.


 /s/ Werner Gruber
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